                                        UNITED STATES BANKRUPTCY COURT
                                           WESTERN DISTRICT OF TEXAS
                                                 AUSTIN DIVISION
IN RE:                                                            §                  CASE NO.
Amanda Marie Gribble                                              §
                                                                  §                  Chapter 13
                                                                  §
       Debtor(s)



                                        CHAPTER 13 PLAN AND MOTIONS FOR
                                         VALUATION AND LIEN AVOIDANCE

                                                             AMENDED

 If you oppose the Plan's treatment of your claim or any provisions of this Plan, YOU MUST FILE AN OBJECTION to
 confirmation no later than fourteen (14) days before the confirmation hearing date.

 Use of the singular word "Debtor" in this Plan includes the plural where applicable. All section references ("§") are to the
 Bankruptcy Code unless otherwise noted.


The following matters may be of particular importance. Debtors must check one box on each line to state whether or not the
Plan includes each of the following items. If an item is checked as "Not Included" or if both boxes are checked, the provision will
be ineffective if set out later in the Plan.
                                                          1. Plan Overview

 1.1   A limit on the amount of secured claim based on valuation of collateral for the                 Included          Not included
       claim, set out in Sections 7.8 and 7.9, which may result in a partial payment or no
       payment at all to the secured creditor

 1.2   Avoidance of a wholly unsecured lien or judicial lien or nonpossessory,                         Included          Not included
       nonpurchase-money security interest, set out in Sections 7.9 and 7.10

 1.3   Nonstandard provisions, set out in Section 8                                                    Included          Not included


                                                          2. Plan Summary

2.1    Debtor's Plan payment will be      see below      per month, paid by       3rd Party Epay (if accepted by Trustee),
            Payroll Order, or     Direct (Money Order or Cashier's Check). Variable payments, if applicable, are proposed as
       follows:

         Months                                                         Amount of Monthly Payment

         1-2                                                            $350.00
         3 - 36                                                         $550.00

       The term of the Plan is     36      months. The gross amount to be paid to the Trustee (sometimes, the "base amount")
       is    $19,400.00 .




                                                                   1
Debtor    Amanda Marie Gribble                                                              Case number


2.2      Under this Plan, the Trustee will pay all allowed priority claims in full; all allowed secured claims to the extent of the value
         of the collateral or the amount of the claim, whichever amount is provided for in Sections 7.7 and 7.8; and approximately
              39      % to allowed general unsecured claims. The specific treatment for each class of creditors is set forth below in
         the Plan.
         This Plan does not allow claims. A creditor must file a proof of claim by the applicable deadline to receive
         distributions under the plan as confirmed. Creditors are referred to the Federal Rules of Bankruptcy Procedure, the
         Local Bankruptcy Rules for the Western District of Texas, and the Standing Order for Chapter 13 Administration for
         this Division for information on procedures and deadlines.

2.3      The aggregate value of Debtor's non-exempt assets is:              $0.00       .

                                                      3. Vesting of Estate Property

              Upon confirmation of the Plan, all property of the estate SHALL vest in the Debtor, shall not remain property of the
              estate, and shall not be subject to the automatic stay of § 362; provided however, in the event of conversion of this
              case to chapter 7 the property of the Debtor as of the petition date should revest in the estate.

              Upon confirmation of the Plan, all property of the estate SHALL NOT vest in the Debtor, shall remain property of the
              estate, and shall remain subject to the automatic stay of § 362.


                                                4. Tax Refunds and Annual Tax Returns
4.1      Tax Refunds.
         All tax refunds received by Debtor (or either Debtor if a joint case) while the chapter 13 case is pending shall be allocated
         as set forth below:

         1)   The total amount of the aggregate tax refund(s) received for any tax period that exceeds $2,000.00 shall, upon
              receipt, be paid and turned over to the Trustee as additional disposable income and such amount shall increase the
              base amount of the Plan. The Plan shall be deemed modified accordingly, and the Trustee will file a notice of plan
              modification within 21 days of receipt of the tax refund;

         2)   This $2,000.00 annual limit shall apply to both joint-debtor and single-debtor cases;

         3)   The $2,000.00 otherwise retained by Debtor must first be applied to any Plan arrearages;

         4)   Notwithstanding subparagraph (1) above, Debtor may file a notice to retain the portion of the tax refund otherwise
              payable to the Plan under subparagraph (1) with twenty-one (21) day negative notice as set forth in Local Rule
              9014(a) if, at the time of receipt of a refund, Debtor's Plan provides for the payment of 100% of allowed general
              unsecured claims within the term of this Plan. If the Trustee does not object within the twenty-one (21) day negative
              notice period, Debtor may retain that portion of the tax refund.

         The Trustee is hereby authorized to endorse a tax refund check if the check is made payable to Debtor.

4.2      Annual Tax Returns.

         Debtor shall provide a copy of the annual post-petition income tax return to the Trustee if requested to do so or if required
         to do so pursuant to the Standing Order for Chapter 13 Administration for the division in which this case is pending. If
         this is a joint case, each Debtor shall comply with this provision if separate returns are filed.

                                         5. Pre-Confirmation Adequate Protection Payments

         Pre-confirmation adequate protection payments under § 1326(a)(1) and § 502(b) shall be made as provided below, and
         pursuant to the Standing Order for Chapter 13 Administration for the division in which this case is pending:

         A.   All pre-confirmation payments if required by § 1326(c) and proposed below will be made by the Chapter 13 Trustee
              without further order of the Court. Such payments shall be considered payments pursuant to § 1326(a) and
              28 U.S.C. § 586(e).



                                                                      2
Debtor    Amanda Marie Gribble                                                             Case number


         B.   If the Debtor fails to make the required plan payments and funds on hand are not sufficient to pay all pre-
              confirmation adequate protection payments due, then such payments shall be paid on a pro rata basis, with the
              exception of ongoing monthly mortgage payments made by the Trustee.

         C. Monthly pre-confirmation adequate protection payments will be calculated from the date the first plan payment is
            due. To receive adequate protection payments, a secured creditor must have on file with the Clerk of the Court a
            timely filed and allowed proof of claim. The proof of claim must include proof of the creditor's security interest and
            shall be served on the Chapter 13 Trustee, the Debtor and Debtor's attorney. The Trustee will thereafter commence
            disbursement of pre-confirmation adequate protection payments in the next regularly scheduled monthly
            disbursement following the filing of the claim, subject to normal operating procedures.

         D. The Debtor proposes the following pre-confirmation adequate protection ("AP") payments. The Trustee shall apply
            pre-confirmation adequate protection payments to accrued interest, if applicable, and then to principal. AP payments
            shall cease upon confirmation of the Plan.


 Creditor & Collateral                                         Monthly AP          Interest Rate,     Other Treatment
                                                               Payment             If Claim is        Remarks
                                                                                   Over Secured

Capital One Auto Finance                                                $110.00
2011 Honda Pilot (approx. 124,600 miles)
                                  6. Executory Contracts / Unexpired Leases / Contracts for Deed

6.1      Pursuant to § 1322(b)(7) and § 365, Debtor hereby elects to assume the following executory contracts, unexpired
         leases, and/or contracts for deed as follows:


 Creditor                                                 Property or Contract Description                      Current Monthly
                                                                                                                Payment to be Paid
                                                                                                                Directly by the
                                                                                                                Debtor

22 North Apatments                                        Residential Lease                                                      $0.00
6.2      Pursuant to § 1322(b)(7) and § 365, Debtor hereby elects to reject the following executory contracts, unexpired
         leases, and/or contracts for deed:


 Creditor                                                               Property


                                                        7. Treatment of Claims

7.1      Administrative Claims and Request for Attorney Fees.

         The Trustee shall collect the allowed statutory Trustee fee upon receipt of all monies paid by or on behalf of Debtor. All
         other administrative claims, including Debtor's attorney fees, shall be paid according to the terms of this Plan.




                                                                    3
Debtor    Amanda Marie Gribble                                                               Case number


         Upon confirmation of the Plan, the Court approves and awards          $3,900.00      to Debtor's attorney as an adminstrative
         claim for legal services performed in this case in accordance with the applicable benchmark. Debtor's attorney may file
         applications for additional award of attorney fees pursuant to the Bankruptcy Code, Local Bankruptcy Rules for the
         Western District of Texas, and the Standing Order for Chapter 13 Administration for the division in which this case is
         pending. If additional monies are available, the Trustee may, within his or her discretion, disburse such funds to this
         class on a pro rata basis. The Trustee shall disburse payments to the attorney as follows:

 Debtor's Attorney                                     Amount of Fee Paid       Payment                 Additional
                                                       Through the Plan         Method:                 Provisions

The Law Offices of Sean T. Flynn PLLC                               $3,900.00        Standing Order
                                                                                     Other

7.2      Priority Claims.
         All allowed claims entitled to priority under § 507(a), except § 507(a)(2), shall be paid in full in deferred distributions by
         the Trustee, unless: (1) the holder of a particular claim agrees to a different treatment of such claim; or (2) such claim is
         provided for under § 1322(a)(4). Unless the Plan provides otherwise, the distributions shall be made by the Trustee. If
         the Plan identifies a creditor's claim as a priority claim and the creditor files the claim as a general unsecured claim, the
         claim shall be treated as a general unsecured claim unless otherwise ordered by the Court. If any priority claim is filed
         for a debt that was either not scheduled or scheduled as a general unsecured claim, the claim shall be allowed as a
         priority claim unless otherwise ordered by the Court. Allowed priority claim(s) shall be paid without interest, unless
         otherwise ordered by the Court or unless specifically allowed under § 1322(b)(10) and provided for below.

         The amount set forth in the Plan is an estimate and if the actual allowed claim is in a different amount, the amount to be
         paid pursuant to the Plan shall be the amount due on the allowed claim.

         Domestic Support Obligations ("DSO"). The Trustee shall pay all pre-petition DSO claims through the Plan unless the
         Court orders otherwise. Debtor shall pay all DSO payments that accrue post-petition directly to the holder, or the holder's
         agent, pursuant to the terms of the DSO.

         The Trustee shall disburse payments to the following creditors holding priority claims:

 Creditor                                           Description                                     Est. Claim         Est.
                                                                                                    Amount             Monthly
                                                                                                                       Payment


         If additional monies are available, the Trustee may, within his or her discretion, disburse such funds to this class on a
         pro rata basis.

7.3      Arrears on Assumed Executory Contracts/Leases/Contracts for Deed.

         The Trustee shall disburse payments for arrears to creditors holding assumed executory contracts, leases, and/or
         contracts for deeds. The amounts listed below by Debtor are estimates. If a creditor files a proof of claim and the claim
         for arrears or the ongoing monthly payment is in a different amount than stated below, the payments under the Plan shall
         be based on the creditor's claim unless a different amount is established by court order.

         Those creditors holding claims within this class are as follows:

 Creditor & Collateral                                    Arrears & Treatment of                    Amount of Ongoing Monthly
                                                          Arrears Through the Plan                  Payment Through the Plan


Progressive Leasing                                       $275.00
                                                          Direct Pay

Snap Finance                                              $850.00
                                                          Direct Pay


                                                                       4
Debtor    Amanda Marie Gribble                                                                 Case number


7.4      Collateral to be Surrendered.

         Upon the entry of an order confirming the Plan or an order modifying the Plan, the stay shall automatically terminate with
         regard to the collateral surrendered. Upon entry of such order, the creditor shall have ninety (90) days from the date of
         the order to file a claim or amended claim as to any deficiency balance that may remain, and such deficiency balance will
         be paid as a general unsecured claim. Any such claim is subject to objection.

         Debtor surrenders the following collateral:


 Creditor                                         Collateral                                     Location of Collateral


Conns HomePlus                                    Tv and entertainment center
                                                  Value: $150.00
7.5      Creditors to be Paid Directly by Debtor (Other Than Mortgage Creditors), by a Third Party, or by a Co-Debtor.
         [USE ONLY IF THERE IS NO DEFAULT]

         Creditors within this class shall retain their liens on the collateral that is security for the claim until the claim has been
         paid in full as determined by the note and/or applicable non-bankruptcy law.

         If certain claims are paid directly by Debtor to creditor, Debtor shall be deemed acting as a disbursing agent under the
         Plan for payment of such claim. Such payments shall be made in addition to the payments by Debtor to the Trustee and
         are deemed to be payments made pursuant to the Plan.

         The following creditors shall be paid directly by Debtor, a Third Party, or a Co-Debtor:

 Creditor /                                            Debt              Monthly           Remarks                           Identify
 Collateral                                            Owed              Payment                                             Payer

7.6      Mortgage Creditors: Ongoing Mortgage Payments and Direct Mortgage Payments on Debtor's Principal Residence.

         Unless the Debtor is current on the mortgage on the petition date, or otherwise provided for under PLAN PROVISIONS
         8. Nonstandard Plan Provisions, the Trustee shall pay all post-petition monthly mortgage payments to the mortgagee.
         Ongoing mortgage payments will be in the amount stated in the allowed proof of claim or pursuant to a Court Order. If
         Debtor makes a Plan payment that is insufficient for the Trustee to disburse all ongoing mortgage payments required
         below, the Trustee shall hold plan payments until a sufficient amount is received to make a full ongoing mortgage
         payment. Debtor shall provide to the Trustee all notices received from Mortgage Creditors including statements, escrow
         notices, default notifications, and notices concerning changes of the interest rate if a variable rate mortgage. The
         automatic stay is modified to permit Mortgage Creditors to issue such notices.

         The Trustee shall be authorized to make changes to the ongoing monthly mortgage payments based on Notice filed
         pursuant to Bankruptcy Rule 3002.1(b) and to pay fees, expenses, and charges based on Notice filed pursuant to
         Bankruptcy Rule 3002.1(c). The Trustee may request that the Debtor file amended Schedules I and J, and the Debtor
         shall do so on or within thirty (30) days after receiving such a request from the Trustee. If Debtor lacks the disposable
         income to pay the ongoing mortgage payment, the Trustee may seek dismissal. The Debtor or the Trustee may seek to
         modify the Plan based on Debtor's current income, Debtor's ongoing mortgage payment obligations, or as otherwise
         provided in § 1329.

         Alternatively, upon the filing by a Mortgage Creditor of a Notice pursuant to Bankruptcy Rule 3002.1(b) or 3002.1(c), the
         Trustee may file a Notice of Increase of Plan Payment with the Court if the Trustee reasonably believes that, under the
         circumstances, the increased payment should be Debtor's responsibility. The Trustee shall serve the Notice of Increase
         of Plan Payment on Debtor and Debtor's counsel. Such circumstances include but are not limited to: (1) increase in the
         mortgage payment or claim for expense is caused by Debtor's failure to pay tax, insurance or other obligations to the
         mortgagee that the Debtor was required to pay directly; (2) cases in which the Debtor is paying less than the Debtor's full
         disposable income because the Debtor has agreed to pay a 100% dividend to general unsecured creditors; and (3)
         cases where, because of the increase due the Mortgage Creditor, the current Plan would fail to pay fully the amount
         provided under the Plan to allowed secured, priority, and administrative claims and any required amount to be paid to
         general unsecured claims under the terms of the confirmed Plan by reason of § 1325(a)(4) or otherwise.




                                                                        5
Debtor    Amanda Marie Gribble                                                              Case number


         The amount set forth in a Notice of Increase of Plan Payment shall become the modified Plan payment, and the Plan
         base shall be correspondingly increased. The Debtor must file a motion to modify Plan, supported by amended
         Schedules I and J as well as income verification, if the Debtor believes there is not, at that time, sufficient disposable
         income to pay the increased Plan payment or there is otherwise basis to amend the Plan rather than pay the increased
         Plan payment. The Debtor's motion to modify Plan shall be filed no later than thirty (30) days after Trustee's Notice of
         Increase in Plan Payment is filed.

         It is possible that a change in the ongoing mortgage payment will affect the distribution to the unsecured creditors,
         and this provision of the Plan shall serve as adequate notice of the possibility.

         If Debtor is current as of the petition date and elects to pay the ongoing mortgage directly but subsequently defaults,
         Debtor should file a motion to modify the Plan within thirty (30) days of receiving notice of the default to provide for the
         payment of the post-petition mortgage arrears. The future ongoing mortgage payments shall be paid by the Trustee.
         The motion to modify the Plan must state the name, address, and account number of the Mortgage Creditor to whom
         payments are to be made; the date the Trustee is to commence the ongoing mortgage payments; and the treatment of
         the post-petition delinquency including the gap between the date when Debtor modified the Plan and the date on which
         the Trustee is to commence the ongoing mortgage payments. The Trustee may also file a motion to modify the Plan in
         the event of a post-petition default.

         The Standing Order for Chapter 13 Administration for the division in which this case is pending as to ongoing mortgage
         payments shall also apply.

         For cause shown, Debtor may deviate from the procedures set forth in this provision of the Plan provided that Debtor sets
         forth cause, with specificity, in PLAN PROVISIONS 8. Nonstandard Plan Provisions. The Trustee and any party in interest
         may object. Debtor shall have the burden of proving at any hearing on confirmation of the Plan cause for such deviation.
         Avoidance of administrative fees alone shall not be considered cause.
         The amounts set forth below are Debtor's estimate and the allowed claim shall control as to the amounts. Those
         creditors holding a secured claim with ongoing mortgage payments are as follows:


 Creditor                          Property                           Monthly          Interest           Payment Due Paid By:
                                   Address                            Mortgage         Rate (for          Date
                                                                      Payment          informational      (per contract)
                                                                                       purposes only)


7.7      Secured Claims: Cure Arrears on Long Term Debt and Mortgage Arrears on Debtor's Principal Residence.
         Arrears on long term debt and pre-petition mortgage arrearage claims shall be paid pursuant to the payment schedule
         set forth below. Upon discharge, if the pre-petition arrears and the post-petition ongoing payments are current on
         Debtor's Principal Residence, the default will be deemed cured and the note reinstated according to its original terms,
         including the retention of any security interest. The pre-petition arrears set forth below is an estimate only and the
         Trustee shall pay the pre-petition arrears based on the proof of claim as filed by the creditor, unless a different amount is
         allowed pursuant to a court order.

         If there are insufficient funds to pay the monthly payment to claims within this class, creditors in this class shall be paid
         on a pro rata basis. If additional monies are available, the Trustee may, within his or her discretion, disburse such funds
         to this class on a pro rata basis.




                                                                     6
Debtor    Amanda Marie Gribble                                                                    Case number


         The following secured creditors hold claims for arrears in this class:

 Creditor                         Collateral                       Estimated         Monthly            Interest Rate Remarks
                                  Description                      Arrearage         Payment or         (If applicable)
                                                                                     Method of
                                                                                     Distribution

7.8      Secured Claims: Treatment of Claim and Motion to Value Collateral Pursuant to § 506; and 910 Day Claims/1 Year
         Claims.

         Creditors within this class shall retain their liens on the collateral that is security for their claims until the earlier of: (1) the
         date the underlying debt, as determined by non-bankruptcy law, has been paid in full; or (2) the date discharge is entered
         under § 1328. If the case is dismissed or converted without completion of all Plan payments, the liens shall be retained
         by the creditors pursuant to applicable non-bankruptcy law.
         Debtor moves to value the collateral described below in the amounts indicated. The values as stated below represent
         the fair market value of the collateral pursuant to § 506(a)(2). Objections to the valuation of collateral proposed by this
         Motion and the Plan must be filed no later than fourteen (14) days before the confirmation hearing date. If no timely
         objection is filed, the relief requested may be granted in conjunction with the confirmation of the Plan.

         The Trustee shall pay the allowed secured claims, which require the filing of a proof of claim, to the extent of the value of
         the collateral or the full payment of the claim as specified below, plus interest thereon at the rate specified in this Plan.
         Failure of the secured creditor to object will be deemed acceptance of the plan under § 1325(a)(5)(A). Except for
         secured claims for which provision is made to pay the full amount of the claim notwithstanding the value of the collateral,
         the portion of any allowed claim that exceeds the value of the collateral shall be treated as an unsecured claim under
         Section 7.11 below.

 Creditor /                                      Amount            Fair              Interest      Equal                  Unsecured     910
 Collateral Description                          of Debt           Market            Rate          Monthly                Claim         Claim?
                                                 (Est)             Value                           Payment                              ***

Capital One Auto Finance                            $12,831.64          $8,800.00         5.25%           Pro-Rata          $4,031.64
2011 Honda Pilot (approx. 124,600 miles)
*** Debtor indicates, by notation ( ) that the collateral which secures the claim was purchased within 910 days if a vehicle or
within 1 year if personal property pursuant to § 1325(a) (hanging paragraph).
         If additional monies are available, the Trustee may, within his or her discretion, disburse such funds to this class on a
         pro rata basis.

         If any secured proof of claim is timely filed for a debt that was either not scheduled or scheduled as unsecured, the claim
         shall be allowed as secured unless otherwise ordered by the Court. Said claim shall be paid under the Plan with
         interest at         % per annum and shall be paid on a pro rata basis as funds become available after payment of any
         fixed equal monthly payments payable to other secured creditors listed above.

7.9      Wholly Unsecured Claims.

 NOTICE OF DEBTOR'S INTENTION TO STRIP A WHOLLY UNSECURED LIEN

 Debtor proposes a Chapter 13 plan that strips your lien secured by real property to a wholly unsecured claim. The Plan
 alleges that the value of the real property is less than the amount owed on all liens that are senior in priority to your lien.
 Your claim will receive no distributions as a secured claim but will receive distributions as a general unsecured claim.

 If you disagree with the treatment proposed by the Plan that will terminate your lien and that will pay your claim as a
 general unsecured claim, you must file an objection to the Plan no later than fourteen (14) days before the confirmation
 hearing date. If you fail to object, the Bankruptcy Court may approve the Plan without further notice.




                                                                         7
Debtor    Amanda Marie Gribble                                                              Case number


 Upon entry of a Discharge Order, the holder of the lien is required to execute and record a full and unequivocal release of
 its liens, encumbrances and security interests secured by the real property and to provide a copy of the release to the
 Trustee, Debtor, and Debtor's counsel. Notwithstanding the foregoing, the holder of a lien that secures post-petition
 homeowners' association fees and assessments will be allowed to retain its lien, but only to secure (i) post-petition
 assessments; and (ii) other post-petition amounts, such as legal fees, if such post-petition amounts are incurred with
 respect to post-petition fees and assessments, and are approved by the Court, if incurred during the pendency of the
 bankruptcy case.

 This provision does not apply if a secured creditor does not file a proof of claim.

 Notice of this Plan provision must be provided by the Debtor to the secured creditor in accordance with Fed. R. Bankr. P. 7004.


         The following claims shall be paid as a general unsecured claim as there is no equity in the collateral to secure the
         claim.

         If the case is dismissed or converted without completion of all Plan payments, the liens shall be retained by the creditors
         pursuant to applicable non-bankruptcy law.

         Those creditors holding secured claims that are wholly unsecured and are within this class are as follows:

 Creditor                                            Collateral                                       Fair Market        Amount of
                                                                                                      Value              Senior Lien(s)

7.10     Motions to Avoid Lien Pursuant to § 522(f).
         The Bankruptcy Code allows certain liens to be avoided. If a lien is avoided, the creditor's claim, to the extent allowed,
         will be treated as a general unsecured claim under Section 7.11. The amount of the debt set forth in the Plan is Debtor's
         estimate and if the actual allowed claim is in a different amount, the unsecured amount to be treated pursuant to the Plan
         shall be the amount due on the allowed claim.

         If the case is dismissed or converted without completion of all Plan payments, the liens shall be retained by the creditors
         pursuant to applicable non-bankruptcy law.

         Debtor moves under § 522(f) to avoid the following liens that impair exemptions. Objections to this treatment must be
         filed no later than fourteen (14) days before the confirmation hearing date. If no timely objection is filed, the relief
         requested may be granted in conjunction with the confirmation of the Plan. (Debtor must list the specific exempt property
         that the lien impairs and the basis of the lien--e.g. judicial lien, non-PMSI, etc.).

 Creditor                                 Property Subject to                    Lien               Secured            Type of Lien
                                          Lien                                   Amount to          Amount
                                                                                 be Avoided         Remaining

7.11     General Unsecured Claims.
         Creditors within this class hold general unsecured claims that are not otherwise provided for in the Plan, including but
         not limited to creditors' unsecured claims arising by reason of lien avoidance or lien strip, rejection of executory contracts
         or leases, or bifurcation of a claim. Payments to holders of allowed claims within this class shall be disbursed on a pro
         rata basis and shall be disbursed after payment of other creditors. The amounts set forth as unsecured claims in
         Debtor's schedules are estimates only, and payments to holders of allowed general unsecured claims shall be based
         upon allowed claim amounts.




                                                                      8
Debtor   Amanda Marie Gribble                                                               Case number


                                                   8. Nonstandard Plan Provisions

Nonstandard Plan Provisions.

The following Plan provisions will be effective only if there is a check in the box in Section 1.3 of the Plan.



 36 Month Plan
 36 Month Plan




Failure to place any nonstandard provision in this section results in the nonstandard provision being void.

I certify that all nonstandard plan provisions are contained in this section of the Plan.

/s/ Sean T. Flynn                                                     Date: 11/4/2019
Debtor's Attorney or Pro Se Debtor
State Bar No. 24074214


/s/ Amanda Marie Gribble
Debtor


Joint Debtor



                                                          Certificate of Service
Debtor shall be responsible for service of the Plan on the Trustee and all parties in interest.




                                                                     9
                                      UNITED STATES BANKRUPTCY COURT
                                         WESTERN DISTRICT OF TEXAS
                                               AUSTIN DIVISION

  IN RE: Amanda Marie Gribble                                                     CASE NO.
                                    Debtor


                                                                                  CHAPTER      13
                                  Joint Debtor

                                                 CERTIFICATE OF SERVICE


    I, the undersigned, hereby certify that on November 4, 2019, a copy of the attached Chapter 13 Plan, with any
attachments, was served on each party in interest listed below, by placing each copy in an envelope properly addressed,
postage fully prepaid in compliance with Local Rule 9013 (g).




                                /s/ Sean T. Flynn
                                Sean T. Flynn
                                Bar ID:24074214
                                The Law Offices of Sean T. Flynn, PLLC
                                P.O. Box 81967
                                Austin, TX 78708
                                (512) 640-3340



Amanda Marie Gribble                             Child Support Division                      Credit Systems International, Inc
149 S. Bagdad Rd #18307                          Office of the Attorney General              xxxxx7199
Leander, TX 78641                                P.O. Box 12017                              Attn: Bankruptcy
                                                 Austin, TX 78711-2017                       PO Box 1088
                                                                                             Arlington, TX 76004


AmSher Collection Srv                            Conns HomePlus                              Department of Education
xxxx0040                                         xxxxx7631                                   Office of General Counsel
4524 Southlake Parkway                           Attn: Bankruptcy                            400 Maryland Ave, SW Rm 6E343
STE 15                                           2445 Technology Forest Blvd, Bldg 4,        Washigton, DC 20202
Hoover, AL 35244                                 Ste
                                                 The Woodlands, TX 77381

Capital One                                      Credit Management, LP                       Internal Revenue Service
xxxxxxxxxxxx4319                                 xxxx3577                                    Centralized Insolvency Office
Attn: Bankruptcy                                 Attn: Bankruptcy                            P.O. Box 7346
PO Box 30285                                     PO Box 118288                               Philadelphia, PA 19101-7346
Salt Lake City, UT 84130                         Carrollton, TX 75011


Capital One Auto Finance                         Credit One Bank                             Kohls/Capital One
xxxxxxxxxxxxx1001                                xxxxxxxxxxxx5710                            xxxxxxxxxxxx9359
Attn: Bankruptcy                                 ATTN: Bankruptcy Department                 Attn: Credit Administrator
PO Box 30285                                     PO Box 98873                                PO Box 3043
Salt Lake City, UT 84130                         Las Vegas, NV 89193                         Milwaukee, WI 53201
                                    UNITED STATES BANKRUPTCY COURT
                                       WESTERN DISTRICT OF TEXAS
                                             AUSTIN DIVISION

  IN RE: Amanda Marie Gribble                                                    CASE NO.
                                  Debtor


                                                                                CHAPTER       13
                                Joint Debtor

                                               CERTIFICATE OF SERVICE
                                                    (Continuation Sheet #1)

Lendup                                         Social Secuirty Administration               VA Regional Counsel Office
xxxxxx9376                                     Attn: Bankruptcy Coordinator                 1 Veterans Plaza
Attn: Bankruptcy Department                    Office of General Counsel, Region VI         701 Clay Avenue
225 Bush Street, 11th Floor                    1301 Young Street, Suite A702                Waco, TX 76799
San Francisco, CA 94104                        Dallas, TX 75202-5433


Office of Litigation                           Texas Alcoholic Beverage Commission
US Department of HUD                           Licenses and Permits Division
451 7th St., Sw, Room 10258                    P.O. Box 13127
Washington, DC 20410                           Austin, TX 78711



Progressive Leasing                            Texas Comptroller of Public Accounts
256 West Data Dr                               Revenue Accouting Division -
Draper, UT 84020                               Bankruptcy
                                               P.O. Box 13528 Capital Station
                                               Austin, TX 78711


Randolph-Brooks Federal Credit Union           Texas Workforce Commission
xxxxxxxxxxxx6692                               TWC Building - Regulatory Integrity Div
Attn: Bankruptcy                               101 East 15th Street
PO Box 2097                                    Austin, TX 78778
Universal City, TX 78148


Receivables Performance Mgmt                   United States Attorney
xxxx8656                                       601 N.W. Loop 410, Suite 600
Attn: Bankruptcy                               San Antonio, TX 78216
PO Box 1548
Lynnwood, WA 98036


RMP                                            United States Attorney General
xxxx3874                                       Department of Justice
Attn: Bankruptcy                               950 Pennsylvania Ave, N.W.
PO Box 21626                                   Washigton, D.C. 20530
Waco, TX 76702


Snap Finance                                   United States Trustee
PO Box 26561                                   903 San Jacinto, Suite 230
Salt Lake City, UT 84126                       Austin, TX 78701
